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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

KOCH MINERALS SÀRL, KOCH                         )
NITROGEN INTERNATIONAL SÀRL,                     )
                                                 )
       Plaintiffs,                               )
                                                 )
       v.                                        )
                                                   Case No. 22-mc-00156-LPS
                                                 )
BOLIVARIAN REPUBLIC OF                           )
VENEZUELA,                                       )
                                                 )
       Defendant.                                )
                                                 )

                                     [PROPOSED] ORDER

       Per the Court’s Memorandum Opinion and Order on March 23, 2023 in OI European

Group B.V. v. Bolivarian Republic of Venezuela, 19-mc-290-LPS, Northrop Grumman Ship

Systems, Inc. v. The Ministry of Defense of the Republic of Venezuela, 20-mc-257-LPS, ACL1

Investments Ltd. et al v. Bolivarian Republic of Venezuela, 21-mc-46-LPS, and Rusoro Mining

Limited v. Bolivarian Republic of Venezuela, 21-mc-481-LPS (the “Other Creditor Actions”) (19-

mc-00290-LPS, D.I. 131-132), the motions for an order authorizing the issuance of a writ of

attachment fieri facias, pursuant to 28 U.S.C. § 1610(c) were conditionally granted.

       Per the Court’s March 23, 2023 Order, Koch Minerals Sàrl and Koch Nitrogen

International Sàrl (collectively “Koch”) met and conferred with the parties in the Gold Reserve

case and the Other Creditor Actions on March 27, 2023. Koch Minerals Sàrl v. Bolivarian

Republic of Venezuela, 1:22-mc-00156-LPS, D.I. 17.

       The parties in this case jointly submitted a Stipulation and Proposed Order that: (1)

PDVSA’s Intervention and Stay Motion be granted; (2) Plaintiffs’ Attachment Motion will be held

in abeyance until further order of the Court, which will not be issued until after the Court resolves


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similar motions for conditional writs of attachment filed in the Other Creditor Actions and (3)

PDVSA’s request that briefing on Plaintiffs’ Attachment Motion be stayed is granted, subject to

any further order of the Court. D.I. 15.

        The parties in Koch have conferred and agreed to stipulate to this order incorporating and

applying the March 23 Order entered in the Other Creditor Actions. PDVSA’s stipulation to the

entry of this order shall not be construed as a waiver of its foreign sovereign immunity or in any

way affect PDVSA’s right to appeal this order.

        Accordingly, upon review and consideration of the above, and in accordance with 28

U.S.C. § 1610(c), Rule 69 of the Federal Rules of Civil Procedure, Local Rule 69.1, 10 Del. C. §

5031, 8 Del. C. § 324, and the Rules of the Delaware State Courts, it is hereby:

        ORDERED that, for the same reasons stated in the Court’s March 23, 2023 Order in the

Other Creditor Cases, Intervenor Petróleos de Venezuela, S.A. (“PDVSA”) is not entitled to

foreign sovereign immunity and this Court has subject matter jurisdiction over this action pursuant

to the Foreign Sovereign Immunities Act, 28 U.S.C. § 1330(a);

        ORDERED that Plaintiffs’ Motion for a Conditional Order Authorizing the Issuance of a

Writ of Attachment Fieri Facias (the “Motion”) is GRANTED;

        ORDERED that upon the Court's receipt of evidence that the U.S. Treasury Department's

Office of Foreign Assets Control (“OFAC”) has either (i) authorized the issuance and service of a

writ of attachment or (ii) removed the sanctions under which the PDV Holding, Inc. (“PDVH”)

Shares are currently blocked property, then the Clerk of this Court is authorized to affix its original

signature and seal on Plaintiffs’ writ of attachment fieri facias;

        ORDERED that, upon satisfaction of the prior conditions, and after the Clerk of this Court

has affixed its original signature and seal on Plaintiffs’ writ of attachment fieri facias, the Clerk of




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Court is authorized to issue the writ of attachment in aid of Plaintiffs’ execution of its Judgment

against Defendant Bolivarian Republic of Venezuela;

       ORDERED that, upon satisfaction of the prior conditions, and after the Clerk of this Court

has issued Plaintiffs’ writ of attachment fieri facias, the U.S. Marshals Service is authorized to

serve Plaintiffs’ writ of attachment fieri facias, as signed, sealed, and issued by the Clerk of the

Court, on PDVH.




SO ORDERED this 30th day of March, 2023:




                              HONORABLE LEONARD P. STARK
                              UNITED STATES DISTRICT COURT




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